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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

SECURITIES AND EXCHANGE                      :
COMMISSION,                                  :     CIVIL ACTION
               Plaintiff,                    :
                                             :
              v.                             :
                                             :
ROBERT STINSON, JR., et al.,                 :     No. 10-3130
               Defendants.                   :

                                           ORDER

       AND NOW, this 8th day of January, 2015, upon consideration of the Receiver’s Final

Fee Application, the Commission’s Response and Alternative Proposal, the Receiver’s Reply

thereto, the Commission’s Supplemental Memorandum Addressing the Receiver’s Proposed

Distribution Methodology, and following a hearing on December 1, 2014, and for the reasons

provided in this Court’s Memorandum dated January 8, 2015, it is hereby ORDERED that:

       1.     The Receiver’s Final Fee Application (Document No. 321) is DENIED.

       2.     The Commission’s Alternative Proposal to distribute one-half of the remaining

              Estate to investors (Document No. 324) is GRANTED.

       3.     The Commission is ordered to submit a final distribution plan to the Court no later

              than January 26th, 2015.



                                                   BY THE COURT:



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                                                   Berle M. Schiller, J.
